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      3Jn tbe Wniteb ~tates (!Court of jfeberal (!Claims
                                        No. 16-17C
                                (Filed February 12, 2016)
                                NOT FOR PUBLICATION

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STANLEY HOWARD,                          *
                                         *                                FILED
                   Plaintiff,            *
             v.                          *                              FEB t 2 2016
                                         *                             U.S. COURT OF
THE UNITED STATES,                       *                            FEDERAL CLAIMS
                                         *
                   Defendant.            *
                                         *
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                                        ORDER

       On February 8, 2016, the Clerk's office received from Mr. Howard a document
that was not filed at that time because it lacked proof of service, a proper case
caption, and the necessary copies. The document was not, on its face, of a type
appropriate for filing. Upon close review, however, the document appears to be a
request from Mr. Howard that the Court reconsider the January 29, 2016 dismissal,
on the ground that the United States includes the state of Delaware. Despite the
aforementioned defects, the Clerk's office is directed to file the document as a
motion for reconsideration under Rule 59 of the Rules of the United States Court of
Federal Claims.

       Mister Howard's motion reflects his continued failure to understand our
court's jurisdiction. This Court only has jurisdiction over certain cases brought
against the United States government and not cases challenging the actions of state
or local governments or officials. Vlahakis v. United States, 215 Ct. Cl. 1018, 1018
(1978). Since the Court does not have jurisdiction over his claim, the Court has no
power or authority to conduct the mediation that Mr. Howard requests. Plaintiffs
motion for reconsideration is therefore DENIED.
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IT IS SO ORDERED.




                                  Judge




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